UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA —+)~—s CRIMINAL NO. 4:23-CR-00162
)
)  (BRANN, C.J.)
V. )
FILED
) (ARBUCKLE, M.J.)
MATHEW LAMPI, ) WILLIAMSPORT
Defendant ) JUN 27 as
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PLEA DEPUTY CLERK

AND NOW, this 27" day of June 2023, the within named Defendant, hereby

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enters a plea of } i 1 (ou L tl A to the within Indi¢tment.
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(Defendant’s Si gnature)

( (Defense Counsel)

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